                                                                              ADELSBERGER                                                      EXHIBIT 8
                                                           SCHEDULE C NET INCOME ADJUSTED FOR FIXED EXPENSES
                                                                       TAX YEARS FROM 2011 TO 2020

                                            2011         2012         2013         2014        2015        2016        2017        2018         2019        2020
GROSS SALES                                1,373,889    1,419,002    1,380,856    1,065,125     942,378     776,386     708,317     656,063      600,080     597,384
RETURNS AND ALLOWANCES                       (14,473)     (18,794)     (19,233)      (9,097)     (5,164)     (4,774)     (1,703)      1,384         (764)     (3,212)
COST OF GOODS SOLD                          (691,793)    (731,448)    (709,275)    (544,199)   (450,178)   (332,353)   (312,439)   (315,571)    (287,840)   (311,561)
  GROSS PROFIT                               667,623      668,760      652,348      511,829     487,036     439,259     394,175     341,876      311,476     282,611

OTHER INCOME                                  14,336      15,873       13,601       14,000      17,250         283          75           7          -            13
TOTAL OPERATING EXPENSES                     663,279     589,088      596,793      512,277     494,758     408,924     370,510     324,970      293,670     303,264

  NET INCOME                                  18,680      95,545       69,156       13,552        9,528     30,618      23,740      16,913       17,806      (20,640)

ADD BACK FIXED OPERATING EXPENSES:
 ADVERTISING                        38,421                34,826       40,285       23,011      13,263      10,354       3,640       2,468          210         756
 BANK CHARGES                          490                   679        1,346        8,014       1,080       1,189         824       2,186          456       1,656
 DUES AND SUBSCRIPTIONS              3,438                 5,052        2,760          688         475         195         934         343          285         255
 DEPRECIATION                       23,116                21,560       25,515       11,519      10,452       8,117       5,916       5,249        5,231      23,171
 INSURANCE                          49,891                28,138       51,147       49,277      49,528      37,322      17,135      24,616       29,516      33,683
 INTEREST                            8,074                 7,615        9,122       11,274      16,258      19,821      20,640      13,690       15,389      19,777
 LEGAL AND PROFESSIONAL FEES         6,170                 8,163        6,792        6,358       3,600      16,078      14,492       2,267        9,290       1,000
 TRAVEL                              5,942                 3,122        1,537        2,927         405         160       1,517         562          605         115
 MEALS                                 693                   134           36          -            80         230         421         173           19         190
 OFFICE EXPENSE                     14,011                12,099       13,091       13,175      10,876       7,274      10,799       9,277        8,073       9,311
 REPAIRS                            15,623                17,369       13,654        6,999      13,240      30,253       5,246      16,729          813       2,082
 TELEPHONE AND INTERNET             46,146                47,636       30,864       39,542      41,028      33,573      34,373      30,805       36,624      30,146
                       1
   ADJUSTED NET INCOME             230,695               281,938      265,305      186,336     169,813     195,184     139,677     125,278      124,317     101,502

                                                                                                           259,313     259,313     259,313      259,313     259,313
            2011 - 2013 AVERAGE ADJUSTED NET INCOME      259,313
                                                                                                            (64,129)   (119,636)   (134,035)    (134,996)   (157,811)
2016 - 2020 AVERAGE ADJUSTED NET INCOME                  137,192
                                                                                                                       (610,605)
                                          DIFFERENCE     122,121

                                             5 YEARS     610,605
                                                                 ADELSBERGER
                                                  SELECTED FINANCIAL INFORMATION - SCHEDULE C
                                                          TAX YEARS FROM 2011 TO 2020

                                                                                      age
                                   2011         2012         2013         2014              2015        2016        2017        2018        2019        2020
GROSS SALES                       1,373,889    1,419,002    1,380,856    1,065,125           942,378     776,386     708,317     656,063     600,080     597,384     {A}
RETURNS AND ALLOWANCES              (14,473)     (18,794)     (19,233)      (9,097)           (5,164)     (4,774)     (1,703)      1,384        (764)     (3,212)   {XX}
COST OF GOODS SOLD                 (691,793)    (731,448)    (709,275)    (544,199)         (450,178)   (332,353)   (312,439)   (315,571)   (287,840)   (311,561)
GROSS PROFIT                        667,623      668,760      652,348      511,829           487,036     439,259     394,175     341,876     311,476     282,611

OTHER INCOME                        14,336       15,873       13,601       14,000            17,250         283          75            7         -           13

OPERATING EXPENSES                 663,279      589,088      596,793      512,277           494,758     408,924     370,510     324,970     293,670     303,264

NET INCOME                          18,680       95,545       69,156       13,552              9,528     30,618      23,740      16,913      17,806      (20,640)

DEPRECIATION                        23,116       21,560       25,515       11,519            10,452       8,117       5,916       5,249       5,231      23,171     {A}
INSURANCE                              -            -            -         49,277            49,528      37,322      17,135      24,616      29,516      33,683
INTEREST                             8,074        7,615        9,122       11,274            16,258      19,821      20,640      13,690      15,389      19,777     {D}
ADVERTISING                         38,421       34,826       40,285       23,011            13,263      10,354       3,640       2,468         210         756     {A}
SALARIES AND WAGES                 265,509      230,914      238,402      196,470           173,108     127,000     130,640     124,058      85,329      82,291     {E}
LEGAL AND PROFESSIONAL FEES          6,170        8,163        6,792        6,358             3,600      16,078      14,492       2,267       9,290       1,000

BEGINNING OF YEAR INVENTORY         69,427       61,500       49,750       49,790            45,650      43,400      42,730      41,500      37,500      34,250
YEAR END INVENTORY BALANCE          61,500       49,750       49,790       45,650            43,400      42,730      41,500      37,500      34,250      36,900

OPERTING STATS

AVERAGE INVENTORY AS % OF SALES       4.76%        3.92%        3.60%        4.48%             4.72%       5.55%       5.95%       6.02%       5.98%       5.96%    {C}

INVENTORY TURNOVER                   (10.57)      (13.15)      (14.25)      (11.40)           (10.11)      (7.72)      (7.42)      (7.99)      (8.02)      (8.76)   {C}

GROSS MARGIN %                         49%          47%          47%          48%               52%         57%         56%         52%         52%         47%     {B}

DEPRECIATION AS % OF SALES            1.68%        1.52%        1.85%        1.08%             1.11%       1.05%       0.84%       0.80%       0.87%       3.88%    {A}

INTEREST AS % OF SALES                0.59%        0.54%        0.66%        1.06%             1.73%       2.55%       2.91%       2.09%       2.56%       3.31%    {D}

ADVERTISING AS % OF SALES             2.80%        2.45%        2.92%        2.16%             1.41%       1.33%       0.51%       0.38%       0.03%       0.13%    {A}

WAGES AS % OF SALES                 19.33%       16.27%       17.26%       18.45%            18.37%      16.36%      18.44%      18.91%      14.22%      13.78%     {E}
